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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

ANGELITA BAILEY,                                  *

         On Her Own Behalf and on Behalf of       *   Civil Action No. 8:23-cv-827-DKC
         All Others Similarly Situated,
                                                  *   [Removed from the Circuit Court for
                 Plaintiff,                           Montgomery County, Maryland
v.                                                    Case No. C-15-CV-23-000224]
                                                  *
MERCURY FINANCIAL, LLC,
                                                  *
                 Defendant.
                                              *
     *       *         *      *    *   *     *   *                *      *      *        *
                                   NOTICE OF APPEAL

         Notice is hereby given that Defendant Mercury Financial, LLC (“Mercury”) hereby

appeals to the United States Court of Appeals for the Fourth Circuit. Mercury appeals from this

Court’s September 26, 2023 Memorandum Opinion (ECF No. 20) and September 26, 2023 Order

(ECF No. 21) denying Mercury’s Motion to Compel Arbitration and Stay Proceedings and to

Strike Class Allegations.



Dated: October 24, 2023                       Respectfully submitted,

                                              /s/ Melissa O. Martinez
                                              Melissa O. Martinez (Fed. Bar No. 28975)
                                              MCGUIREWOODS LLP
                                              500 East Pratt Street
                                              Suite 1000
                                              Baltimore, MD 21202
                                              410-659-4400
                                              410-659-4482 (Fax)
                                              mmartinez@mcguirewoods.com

                                              Counsel for Mercury Financial, LLC
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 24, 2023, the foregoing copy of Mercury Financial,

LLC’s Notice of Appeal was electronically filed via the Court’s CM/ECF system and served on

all counsel of record.



                                          /s/ Melissa O. Martinez
                                          Melissa O. Martinez




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